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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
STEVEN SELLERS,
Plaintiff, CASE NO.: 3:12-CV-653-J-32-JRK
vS.

UNITED STATES OF AMERICA

Defendant.
/

NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Plaintiff, Steven Sellers, by and through his undersigned counsel, hereby files this
Notice of Dismissal With Prejudice as it relates to Defendant, United States Of America.
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the foregoing has been furnished to
Kimberly A. Herbst, Supervisor, Tort Clairns/Adjudicator, USPS-National Tort Center,
1720 Market Street, Room 240, St. Louis, MO 63155-9948 by Electronic Mail and U.S.

Mail this Hdn'day of Septernber, 2012.

FARAH & FARAH, P.A.

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